Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 1 of 21 PageID: 2419




 HERMAN LAW OFFICES, LLC
 ROBERT D. HERMAN, ESQ.
 NEW JERSEY ATTORNEY ID. NO. 000911998
 222 NEW ROAD, SUITE 106
 LINWOOD, NJ 08221
 rdhesq1@msn.com
 (609) 601-8750
 FAX: (609) 454-0094
 COUNSEL FOR AMICUS CURIAE
 ATLANTIC COUNTY DEMOCRATIC COMMITTEE


                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


  DONALD J. TRUMP FOR
  PRESIDENT, INC., REPUBLICAN
  NATIONAL COMMITTEE, NEW               DOCKET NO. 3:20-cv-10753
  JERSEY REPUBLICAN STATE
  COMMITTEE,

        Plaintiffs,
                                         BRIEF OF ATLANTIC COUNTY
  v.                                      DEMOCRATIC COMMITTEE
                                              AS AMICUS CURIAE
  PHILIP D. MURPHY, in his official      IN SUPPORT OF INTERVENOR-
  capacity as Governor of New Jersey,   DEFENDANT DCCC’S ORDER TO
  TAHESHA WAY, in her official                  SHOW CAUSE
  capacity as Secretary of State of
  New Jersey,

        Defendants.
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 2 of 21 PageID: 2420




                                            TABLE OF CONTENTS


 TABLE OF AUTHORITIES....................................................................                           ii

 INTEREST OF AMICUS CURIAE.........................................................                                 1

 INTRODUCTION....................................................................................                   2

 ARGUMENT...........................................................................................                3

     I.        PLAINTIFFS’ LAWSUIT IS NOT SUPPORTED BY THE
               PLAIN TEXT OF THE RELEVANT STATUTES OR ANY
               INTERPRETIVE CASELAW.
                 .............................................................................................      3

          A.        COUNT I: VIOLATION OF 3 U.S.C. § 1, 2 U.S.C. § 7,
                    AND 2 U.S.C. § 1.
                    .............................................................................................   3

          B.        COUNT II: VIOLATION OF 3 U.S.C. § 1, 2 U.S.C. § 7,
                    AND 2 U.S.C. § 1.
                    .............................................................................................   4

          C.        COUNT III: VIOLATION OF THE RIGHT TO VOTE (42
                    U.S.C. § 1983).
                    .............................................................................................   4

          D.        COUNT IV: VIOLATION OF THE EQ. PROTECTION
                    CLAUSE (42 U.S.C. § 1983).
                    .............................................................................................   7




                                                                 i
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 3 of 21 PageID: 2421




     II.        SHOULD PLAINTIFFS CONTINUE TO OPPOSE
                INTERVENOR-DEFENDANT DCCC’S APPLICATION
                FOR AN ORDER TO SHOW CAUSE/MOTION TO
                DISMISS PLAINTIFFS’ COMPLAINT, UNDER FED. R.
                CIV. P. 11(c)(3), THE COURT CAN INQUIRE AS TO THE
                PROPRIETY OF THE LITIGATION.
                  .............................................................................................      8

           A.        VOTER SUPPRESSION.
                     .............................................................................................   8

           B.        CAUSING A SITUATION WHERE THE ELECTION
                     RESULTS CANNOT BE CERTIFIED IN A TIMELY
                     MANNER (LITIGATION FOR PURPOSES OF DELAY).
                     .............................................................................................   11

           C.        FED. R. CIV. P. 11.
                     .............................................................................................   14



 CONCLUSION........................................................................................                  16




                                                                  ii
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 4 of 21 PageID: 2422




                                        TABLE OF AUTHORITIES

                                                          Cases

 Adams v. USAA Cas. Ins. Co.,
      863 F.3d 1069 (8th Cir. 2017).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

 Bush v. Gore,
       531 U.S. 98 (2000). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

 Donald J. Trump for President, Inc. v. Boockvar,
      2:20-cv-966 (W.D. Pa. 2020). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5, 6

 Foster v. Love,
       522 U.S. 67 (1997). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3, 4

 Jones v. UPS,
       460 F.3d 1004 (8th Cir. 2006).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

 Millsaps v. Thompson,
       259 F.3d 535 (6th Cir. 2001).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3, 15

 Reilly v. Ceridian Corp.,
        664 F.3d 38 (3d Cir. 2011). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7

 Voting Integrity Project, Inc. v. Bomer,
       199 F.3d 773 (5th Cir. 2000).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3, 15

 Voting Integrity Project, Inc. v. Keisling,
       259 F.3d 1169 (9th Cir. 2001).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3, 15

                                           Statutes and Court Rules

 2 U.S.C. § 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3, 4

 2 U.S.C. § 7. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3, 4

 3 U.S.C. § 1. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3, 4



                                                             iii
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 5 of 21 PageID: 2423




 3 U.S.C. §§ 1-15. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

 42 U.S.C. § 1983. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4, 7

 Fed. R. Civ. P. 11.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6, 8, 14, 15, 16

 Fed. R. Civ. P. 12.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7

 N.J. Stat. Ann. § 19:5-3. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

 N.J. Stat. Ann. § 19:34-13(b). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4

 Electoral Count Act of 1887. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11




                                                            iv
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 6 of 21 PageID: 2424




                         INTEREST OF AMICUS CURIAE

       Amicus curiae Atlantic County Democratic Committee (“ACDC” or “the

 ACDC”) is a New Jersey domestic non-profit corporation established pursuant to N.J.

 Stat. Ann. § 19:5-3 which represents the express interests of over 70,000 registered

 Democratic voters in Atlantic County, New Jersey. As a county political organization,

 the ACDC has a substantial interest in the subject matter of Intervenor-Defendant

 DCCC’s Order to Show Cause and the instant litigation as a whole. More particularly,

 the ACDC is concerned with the prospective effects of Plaintiffs’ sought-after relief

 which appears to be an attempt to frustrate the will of the electorate directly as well

 as through obfuscation and delay.




                                         Page 1
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 7 of 21 PageID: 2425




                                   INTRODUCTION

        Plaintiffs’ entire litigation scheme appears worse than ill-conceived. The

 statutes upon which Plaintiffs rely do not say what Plaintiffs wish they did and the

 cases Plaintiffs cite in support either involve vastly different voting laws or factual

 scenarios other than those present here. As a whole, the litigation by Plaintiffs, and

 in particular Plaintiff Donald J. Trump for President, Inc. (“the Trump Campaign”),

 appears it may be part of a massive multi-state effort to suborn the will of the

 electorate through disenfranchisement and, ultimately, by delay, precluding the timely

 certification of election results. This is not the first time this effect has been visited;

 however, it appears the first effort to do so as part of a drawn-out electoral scheme.

        If so, this is violative of Fed. R. Civ. P. 11 which, inter alia, prohibits the use

 of litigation for an improper purpose.

        The ACDC posits that this Court, utilizing the power and authority granted

 under Fed. R. Civ. P. 11(c)(3) and the case law derived therefrom, should make direct

 inquiry of Plaintiffs as to the bona fides of the instant litigation.




                                          Page 2
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 8 of 21 PageID: 2426




                                     ARGUMENT

 I.     PLAINTIFFS’ LAWSUIT IS NOT SUPPORTED BY THE PLAIN TEXT
        OF THE RELEVANT STATUTES OR ANY INTERPRETIVE
        CASELAW.

      A. Count I: Violation of 3 U.S.C. § 1, 2 U.S.C. § 7, and 2 U.S.C. § 1.

        The first count of Plaintiffs’ Complaint claims that pre-election day canvassing

 of mail-in ballots violates three statutes: 3 U.S.C. § 1, 2 U.S.C. § 7, and 2 U.S.C. §

 1. This trio of statutes performs a basic function: it mandates that all congressional

 and presidential elections be held “on a single November day.” Foster v. Love, 522

 U.S. 67, 69-70 (1997).

        Plaintiffs’ problem is that none of these three statutes forbids the act of pre-

 election day canvassing, and not a single case cited by Plaintiffs actually holds that

 pre-canvassing, standing alone, violates these statutes. Rather, every case to interpret

 these laws is clear that their fundamental purpose is simply to ensure an election is

 not “consummated” before the federally-designated election day. Foster, supra, 522

 U.S. at 72 (“a contested selection of candidates for a congressional office that is

 concluded as a matter of law before federal election day, with no act in law or

 in fact to take place on the date chosen by Congress” violates 2 U.S.C. § 7)

 (emphasis added); Millsaps v. Thompson, 259 F.3d 535, 545-49 (6th Cir. 2001);

 Voting Integrity Project, Inc. v. Bomer, 199 F.3d 773, 776-77 (5th Cir. 2000); Voting

 Integrity Project, Inc. v. Keisling, 259 F.3d 1169, 1175-76 (9th Cir. 2001).

                                         Page 3
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 9 of 21 PageID: 2427




        The challenged law, A4475, does not “consummate” the election prior to

 election day because there are still numerous acts – in law and in fact – that take place

 on that date: 1) in-person voting by provisional ballot; 2) vote-tallying; and 3)

 announcement of results following the close of polls.1 There is no good-faith

 argument to be made that the challenged law “consummates” the election before

 November 3 given these completely undisputed facts. Again, not one case holds that

 the singular act of pre-canvassing violates these statutes. The allegation in this Count

 thus finds no support in either the plain text of the relevant statutes or in any

 decisional authority.

        B.     Count II: Violation of 3 U.S.C. § 1, 2 U.S.C. § 7, and 2 U.S.C. § 1.

        Amicus ACDC will not restate the DCCC’s well-reasoned and persuasive

 argument regarding the “postmark presumption” count. Amicus simply wishes to

 reinforce an important point: Plaintiffs have failed to cite even a single case holding

 that a state law establishing a presumption of receipt actually conflicts with the cited

 trio of statutes.

        C.     Count III: Violation of the Right to Vote (42 U.S.C. § 1983).

        This is perhaps the clearest example of a Count that makes rote, generalized

 accusations without so much as a single concrete factual allegation in support:


        This is not Foster, where the election officials announced vote tallies and a
        1


 winner prior to election day. The challenged law makes early divulgement of
 election results is a third-degree indictable offense. N.J. Stat. Ann. § 19:34-13(b).

                                         Page 4
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 10 of 21 PageID: 2428




        •        “A4475 . . . makes voter fraud and other ineligible voting
                 inevitable[.]” (Pl.’s Compl. ¶119).

        •        “New Jersey’s new voting system facilitates fraud and other
                 illegitimate voting practices[.]” (Pl.’s Compl. ¶121).

  Plaintiffs cannot provide specifics because there are none.2

        Rather, as Federal Election Commission Commissioner Ellen L. Weintraub has

  put it, the notion that voting by mail causes or facilitates fraud is a “conspiracy

  theory” that has “no basis.” See Ellen Weintraub, Facts About Voting By Mail (May

  27, 2020).3 (Exhibit 3). Like most far-reaching conspiracy theories, Plaintiffs’ vote-

  dilution argument is absent grounded factual support and based purely upon

  supposition.

        This is not the only Trump campaign lawsuit with an utter lack of factual

  predicate for fraud claims. For example, in Donald J. Trump For President, Inc. v.

  Boockvar, 2:20-cv-966 (W.D. Pa. Oct. 10, 2020), the Hon. J. Nicholas Ranjan,




        2
           “One of the ironies of the Republicans’ obsession with fraud is that theirs
  is the party with the more significant history of misconduct at the polls.” See
  Jeffrey Toobin, The Legal Fight Awaiting Us After The Election, The New Yorker
  (Sept. 21, 2020). (Exhibit 1) (available at
  http://newyorker.com/magazine/2020/09/28/the-legal-fight-awaiting-us-after-the-
  election). See also Jay Willis, How Republicans Tried To Rig An Election In
  North Carolina (And Almost Got Away With It), GQ (Sept. 6, 2019). (Exhibit 2)
  (available at http://gq.com/story/north-carolina-ninth-district-fraud).
         3
           http://fec.gov/resources/cms-content/documents/2020-05-27-ELW-Facts-
  About-Voting-by-Mail.pdf.

                                         Page 5
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 11 of 21 PageID: 2429




  U.S.D.J., dismissed the Plaintiffs’4 Complaint because it was based on claims of fraud

  that were speculative. Notably, even after extensive discovery, Plaintiffs were only

  able to show the “‘possibility of future injury’ based on a series of speculative events

  – which falls short of the requirement to establish a concrete injury.” Id., slip op. at

  61.5 The Boockvar court reasoned that, based on the Plaintiffs’ “theory of harm,” it

  was “almost impossible for them to present anything other than speculative evidence

  of injury.” Id., slip op. at 63. There is no reason why Plaintiffs would make a

  different showing here, even given the opportunity for discovery.

        But viewed from the opposite bank, that also assumes Plaintiffs’ purpose with

  this and like litigation in other states was instituted for a proper purpose.6 See, infra,

  at II. See, e.g. Barton Gellman, The Election That Could Break America, The Atlantic

  (Special Preview Nov. 2020 Issue) at pp. 9-10, 11-15 (https://www.theatlantic.com

  /magazine/archive/2020/11/what-if-trump-refuses-concede/616424               (discussing
        4
           Donald J. Trump For President, Inc., and the Republican National
  Committee are also lead party plaintiffs in Donald J. Trump For President, Inc. v.
  Boockvar, 2:20-cv-966 (W.D. Pa.).
         5
           In Boockvar, Plaintiffs alleged that the use of ballot drop boxes and certain
  signature-matching procedures facilitated fraud. Id., slip op. at 60-68. This is
  nothing more than a minor variation on the assertion in the present matter that
  mail-in voting itself promotes fraud.
         6
           See Fed. R. Civ. P. 11(b)(1) (forbidding litigation for “an improper
  purpose” such as “caus[ing] unnecessary delay”); Fed. R. Civ. P. 11(b)(2) (that
  “claims . . . and other legal contentions are warranted by existing law or by a
  nonfrivolous argument for extending, modifying, or reversing existing law or for
  establishing new law”); and Fed. R. Civ. P. 11(b)(3) (“the factual contentions have
  evidentiary support or, if specifically so identified, will likely have evidentiary
  support after a reasonable opportunity for further investigation or discovery”).

                                           Page 6
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 12 of 21 PageID: 2430




  discarding of the popular vote by use of state legislatures as electors; competing slates

  of electors). (Exhibit 4)

        D.     Count IV: Violation of the Eq. Protection Clause (42 U.S.C. § 1983).

        Count IV also suffers from a similar variety of problems, the most significant

  of which is that it is based entirely on the fertile imagination of the Complaint’s

  drafters. This Count foresees that in-person provisional balloting will result in

  “increased lines and wait times to vote,” negatively impacting the State’s “ability to

  properly process each and every provisional ballot.” (Pl.’s Compl. ¶131). The

  Complaint also prognosticates that the county officials will find it “impossible” to

  “properly inventory, transport, and canvass” the “massively increased volume of

  provisional ballots,” so they will be “forced to adopt alternative procedures for

  processing [them] and determining their validity.” (Pl.’s Compl. ¶¶132,133).

        This is precisely the sort of “speculative” allegation of “hypothetical, future

  injury” that is not permitted in an Article III court and renders the complaint readily

  subject to dismissal under Fed. R. Civ. P. 12(b)(6). See Reilly v. Ceridian Corp., 664

  F.3d 38, 41, 42, 46 (3d Cir. 2011).




                                          Page 7
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 13 of 21 PageID: 2431




  II.   SHOULD PLAINTIFFS CONTINUE TO OPPOSE INTERVENOR-
        DEFENDANT DCCC’S APPLICATION FOR AN ORDER TO SHOW
        CAUSE/MOTION TO DISMISS PLAINTIFFS’ COMPLAINT, UNDER FED.
        R. CIV. P. 11(c)(3), THE COURT CAN INQUIRE AS TO THE PROPRIETY
        OF THE LITIGATION.

        In light of the foregoing, it is apparent that Plaintiffs’ Complaint is not based

  in fact nor supported by caselaw. Then why file the instant litigation? The first of

  two answers may be – as is often the case with this administration – appearing in

  plain sight: (1) Voter suppression.

        A.     Voter Suppression.

        Famed statistician and editor-in-chief of 538, Nate Silver, has described this

  presidential election as “an exceptionally stable race,” with Biden never having led

  Trump by less than 6.6 points nationally. Nate Silver, Trump’s Chances Are

  Dwindling. That Could Make Him Dangerous, FiveThirtyEight (Sept. 30, 2020)7

  (Exhibit 5). The most recent statistical models, in fact, paint a bleaker and bleaker

  picture of President Trump’s re-election, and states that are normally shoo-ins for

  Republicans are in play for, or even leaning, Democratic. Nathaniel Rakich, Biden

  Got Some Of His Best Polls This Week, FiveThirtyEight (Oct. 7, 2020)8 (Exhibit 6).

        None of this is lost on Plaintiffs, who have deployed a veritable arsenal of


        7
          http://fivethirtyeight.com/features/trumps-chances-are-dwindling-that-
  could-make-him-dangerous/
        8
          http://fivethirtyeight.com/features/biden-got-some-of-his-best-polls-this-
  week/


                                         Page 8
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 14 of 21 PageID: 2432




  weapons in an effort to suppress Democratic votes. These efforts include:

     · The Trump campaign and the RNC have “backed” numerous challenges to
       State and local policies aimed at providing more accessible, safer voting
       options. “Trump has zeroed in on mail-in voting specifically, making feverish
       claims that a common method of casting a ballot will lead to voter fraud.”
       These assertions are “based on conspiracy theories, fear, and unproven claims.”
       Clarissa-Jan Lim & Ryan Brooks, Trump And The Republicans Are Doing
       Everything They Can To Confuse Voters Before The Election, Buzzfeed News
       (Sept. 24, 2020).9 (Exhibit 7). The attack on mail-in voting has included the
       USPS’s removal of mailboxes and sorting machines in large cities, something
       NAACP President Derrick Johnson has called “the most blatant attempt to
       suppress voters in modern history at least since the voter suppression tactics
       of the 1960s.” Ibid. This “has served to further disenfranchise communities
       of color during a time when many are already disproportionately impacted by
       a deadly virus.” Ibid.

     · Last month, President Trump said that he wants police officers stationed at
       polling sites to prevent alleged voter fraud – a clear callback to the off-duty
       police intimidation at polls in the early 1980s that resulted in a 1982 consent
       decree barring the RNC from engaging in such tactics. Yelena Dzhanova,
       There’s Nothing Stopping The RNC From Using Voter Intimidation Tactics In
       November Now That A Decades-Old Agreement Has Ended, Experts Warn,
       Business Insider (Sept. 13, 2020).10 (Exhibit 8). “The Trump campaign has
       privately acknowledged in November that the end of the 1982 decree was ‘a
       huge, huge, huge, huge deal’ for Republicans and for the president.” Ibid.

     · Republican state officials in Texas and Ohio have implemented directives to
       reduce the number of ballot drop-boxes per county to one, even in counties as
       populous as Harris, which includes Houston (pop: 4.7M); both directives have
       been enjoined by federal district courts. Ross Levitt & Devan Cole, Federal
       Judge Issues Scathing Decision To Allow More Ballot Drop Boxes In Ohio,




           9
                http://buzzfeednews.com/article/clarissajanlim/trump-republicans-confuse-
  voters
         http://businessinsider.com/rnc-engage-voter-intimidation-because-1982-
           10


  consent-decree-ended-2020-09

                                             Page 9
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 15 of 21 PageID: 2433




        CNN (Oct. 8, 2020)11 (Exhibit 9); Ross Levitt & Chandelis Duster, Federal
        Judge Blocks Texas Governor’s Directive Limiting Ballot Drop Boxes To One
        Per County, CNN (Oct. 10, 2020)12 (Exhibit 10).

     · In response to the pandemic, Iowa’s Republican secretary of state, Paul Pate,
       issued an emergency directive extending early voting and issuing an absentee
       ballot application to every voter for the June primary. In response, the state
       legislators hastily passed a law curtailing the secretary of state’s authority to
       do so. “‘Mail in voting wasn’t created in this pandemic,’ says Janai Nelson,
       associate director-counsel at the NAACP Legal Defense and Educational Fund.
       ‘It’s only when we see the expansion of access to this very practical tool that
       we see the casting votes being subjected to such scrutiny and malignment.’”
       See Andy Kroll, The Plot Against America: The GOP’s Plan To Suppress The
       Vote And Sabotage The Election, Rolling Stone (Jul. 16, 2020)13 (Exhibit 11).

     · A former senior member of Trump’s reelection campaign, attorney Justin
       Clark, gave a “closed-door talk in Wisconsin to a select audience of
       Republican lawyers,” at which he stated: “Wisconsin’s the state that is going
       to tip this one way or the other . . . So it makes EDO [election day operations]
       really, really, really, important. . . . Traditionally, it’s always been Republicans
       suppressing votes . . . [Democrats’] voters are all in one part of the state, so
       let’s start playing offense a little bit. And that’s what you’re going to see in
       2020. That’s what’s going to be markedly different. It’s going to be a much
       bigger program, a much more aggressive program, a much better-funded
       program, and we’re going to need all the help we can get.” Ibid.

        These efforts at voter suppression by the Trump campaign are not new, though

  they were previously far more furtive about things, at least occasionally. And a story

  – recently broken by Britain’s Channel 4 News – details how Cambridge Anayltica

  worked “hand in glove with a team from the Republican National Committee” to

        11
            http://cnn.com/2020/10/08/politics/ohio-injunction-ballot-boxes-
  election/index/html
         12
            http://cnn.com/2020/10/09/politics/texas-ballot-drop-boxes/index.html
         13
            http://rollingstone.com/politics/politics-features/trump-campaign-2020-
  voter-suppression-consent-decree-1028988/

                                         Page 10
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 16 of 21 PageID: 2434




  “dissuade” Democratic voters – and African-American voters in particular – from

  voting in the 2016 election. Craig Timberg & Isaac Stanley-Becker, Cambridge

  Analytica Database Identified Black Voter As Ripe For “Deterrence,” British

  Broadcaster Says, The Washington Post (Sept. 28, 2020).14 (Exhibit 12).

        The second answer may be equally odious.

        B.     Causing a Situation where the Election Results Cannot be Certified in
               a Timely Manner (Litigation for Purposes of Delay).

        To be elected to the office of President of the United States, there are

  essentially two paths. Generally speaking, the first of these is where a state’s populace

  votes for a particular Presidential candidate and, following certification of the

  election, the state’s electors cast votes for that Presidential candidate at the Electoral

  College, held on December 14, 2020. Should the election results be incapable of

  certification and under less than ideal circumstances, then determination of President

  of the United States can become substantially more nuanced, including the possibility

  that state legislatures or even Congress determine which slate of electors are sent–

  no matter the popular vote total. See Toobin, The Legal Fight Awaiting Us after the

  Election, Exhibit 1 at 9-11 (discussing in detail the Electoral Count Act of 1887); see

  generally 3 U.S.C. §§ 1-15.




        14
          http://washingtonpost.com/technology/2020/09/28/trump-2016-cambridge-
  analytica-suppression/

                                          Page 11
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 17 of 21 PageID: 2435




        In a prior incarnation, the State of Florida’s 25 electoral votes would determine

  who would become the next President of the United States. See generally Bush v.

  Gore, 531 U.S. 98; 121 S. Ct. 525; 148 L. Ed. 2d 388 (2000). As reflected in Bush v.

  Gore, this was a singular event. Bush v. Gore, supra., 531 U.S. at 109 (“Our

  consideration is limited to the present circumstances....”). However, it demonstrated

  the potential havoc which may be wrought where an appellate stay is provided while

  election matters wind their way through the courts.

        At present, there are a number of other matters which involve voting by mail

  by Plaintiff Donald J. Trump For President, Inc. and/or Plaintiff Republican National

  Committee. These matters are currently being litigated, involve recently rendered

  decisions which may be proceeding on appeal, or which are planned. See, e.g.

  Donald J. Trump for President, Inc. et al. v. Cegavske et al., 2:20-cv-01445 (D. Nv.

  2020) (Trump Campaign and RNC attempting to undo state law helping expand the

  franchise during the pandemic); Donald J. Trump for President, Inc. et al. v. Bullock

  et al., 6:20-cv-00066 (D. Mt. 2020) (Trump Campaign and RNC attempting to undo

  Montana Governor’s emergency order giving Montana counties the choice whether

  to conduct General Election 2020 by mail); Donald J. Trump for President, Inc. et al.

  v. Boockvar et al., 2:20-cv-966 (W.D. Pa. 2020) (Trump Campaign and RNC

  attempting to undo, inter alia, Pennsylvania Secretary of State’s directives making

  it easier to vote during the pandemic); Donald J. Trump for President, Inc. et al. v.


                                        Page 12
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 18 of 21 PageID: 2436




  North Carolina State Bd. of Elec., 5:20-cv-505 (E.D.N.C. 2020) (Trump Campaign

  and RNC effort to undo the consent decree expanding ballot receipt deadline and cure

  process); and Republican Nat’l Committee et al. v. Newsom, 2:20-cv-01055 (E.D. Ca.

  2020) (RNC effort to stop California’s efforts for a primarily vote-by-mail General

  Election in 2020); see also Toobin, “What if Trump Refuses to Concede?” supra, at

  11-12.

        As parsed in the immediately referenced Atlantic Article:

            We are accustomed to choosing electors by popular vote, but nothing in
     the Constitution says it has to be that way. Article II provides that each state
     shall appoint electors “in such Manner as the Legislature thereof may direct.”
     Since the late 19th century, every state has ceded the decision to its voters. Even
     so, the Supreme Court affirmed in Bush v. Gore that a state “can take back the
     power to appoint electors.” How and when a state might do so has not been
     tested for well over a century.

            Trump may test this. According to sources in the Republican Party at the
     state and national levels, the Trump campaign is discussing contingency plans
     to bypass election results and appoint loyal electors in battleground states
     where Republicans hold the legislative majority. With a justification based on
     claims of rampant fraud, Trump would ask state legislators to set aside the
     popular vote and exercise their power to choose a slate of electors directly. The
     longer Trump succeeds in keeping the vote count in doubt, the more pressure
     legislators will feel to act before the safe-harbor deadline expires.

     ....

     The Trump-campaign legal adviser I spoke with told me the push to appoint
     electors would be framed in terms of protecting the people’s will. Once
     committed to the position that the overtime count has been rigged, the adviser
     said, state lawmakers will want to judge for themselves what the voters
     intended.



                                          Page 13
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 19 of 21 PageID: 2437




     ....

     In Pennsylvania, three Republican leaders told me they had already discussed
     the direct appointment of electors among themselves, and one said he had
     discussed it with Trump’s national campaign.

  Exhibit 4 at 11-12.

        C.     Fed. R. Civ. P. 11.

        Fed. R. Civ. P. 11(b) reads that an attorney presenting a pleading, motion, or

  other paper to the court, certifies that: 1) it is not being presented for any improper

  purpose, such as to harass; 2) the claims and other legal contentions are warranted by

  existing law or by a nonfrivolous argument for extending existing law; and 3) the

  factual contentions have evidentiary support or will have evidentiary support after a

  reasonable opportunity for discovery. Fed. R. Civ. P. 11(c)(3), meanwhile, empowers

  the court, on its own motion, to enter an order directing a party to show cause why

  particular conduct has not violated Rule 11(b). See Adams v. USAA Cas. Ins. Co.,

  863 F.3d 1069, 1076-77 (8th Cir. 2017) (explaining a court’s inherent authority to sua

  sponte issue a show-cause order under Fed. R. Civ. P. 11(c)(3)); Jones v. UPS, 460

  F.3d 1004, 1008-11 (8th Cir. 2006) (upholding District Court’s imposition of Rule

  11 fees following its sua sponte show-cause order). And it is respectfully submitted

  that for the Court to get to a point where an order to show cause is entered as set forth

  in Rule 11(c)(3), the inherent powers vested with the Court by this Rule permit it to

  conduct a preliminary inquiry.


                                          Page 14
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 20 of 21 PageID: 2438




        None of the statutes or cases cited by Plaintiffs – and indeed none at all –

  support the propositions that: 1) pre-canvassing, standing alone, is unlawful; and 2)

  presumptions for un-postmarked ballots are unlawful. In fact, what caselaw exists,

  including Bomer, Keisling, and Millsaps – has roundly rejected challenges nearly

  identical to those here. The claims are thus not warranted by existing law. Fed. R.

  Civ. P. 11(b)(2). And the last two counts suffer from a complete dearth of supporting

  facts. Further, the third count simply states, in conclusory fashion, that A4475 will

  facilitate fraud, but it does not say how. So far as the fourth count is concerned, there

  are no actual facts pled in support – only a series of imaginative future events and

  scenarios that have not come to pass, and whose likelihood of occurring is impossible

  to gauge because it is nothing more than speculation.

        At their best, they represent nothing more than a clarion call over imagined

  facts. At their worst, they represent a ruse utilizing the fictional November Baba

  Yaga, election fraud.

        Accordingly, Amicus ACDC respectfully submits that such preliminary inquiry

  is amply justified in this circumstance. This lawsuit appears simply another chunk

  of the massive iceberg that is Plaintiffs’ coordinated, nationwide effort to suppress

  the vote – an effort that has existed, in various states of conspicuousness, for at least

  four decades – and now appears in the form of a magnum opus as Plaintiff’s

  Presidential campaign is in its most desperate straits.


                                          Page 15
Case 3:20-cv-10753-MAS-ZNQ Document 82 Filed 10/12/20 Page 21 of 21 PageID: 2439




                                        CONCLUSION

               For all these reasons, Amicus Atlantic County Democratic Committee

  respectfully urges the court to grant Intervenor-Defendant Democratic Congressional

  Campaign Committee’s order to show cause and motion to dismiss for failure to state

  a claim, and furthermore, to inquire, sua sponte, as to Plaintiffs’ use of filings under

  Fed. R. Civ. P. 11.


                                          Respectfully submitted on behalf of
                                          Amicus Curiae Atlantic County
                                          Democratic Committee,


  Date: October 12, 2020                  By:    /s/ Robert D. Herman

                                                 Robert D. Herman, Esq.
                                                 New Jersey ID. No. 000911998
                                                 Herman Law Offices, LLC
                                                 222 New Road, Suite 106
                                                 Linwood, NJ 08221
                                                 (609) 601-8750
                                                 Fax: (609) 454-0094
                                                 rdhesq1@msn.com

                                          By:    /s/ Elliott Almanza

                                                 Elliott Almanza, Esq.
                                                 New Jersey ID No. 017542012
                                                 Goldenberg Mackler
                                                 660 New Road, Suite 1-A
                                                 Northfield, NJ 08225
                                                 (609) 646-0222
                                                 Fax: (609) 646-0889
                                                 ealmanza@gmslaw.com


                                         Page 16
